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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

DROPBOX, INC.,

                       Plaintiff/Counter-
                       Defendant,

      v.
                                                       Civil Action No.: 6:20-cv-00251-ADA
MOTION OFFENSE, LLC,

                       Defendant/Counter-
                       Plaintiff.


MOTION OFFENSE, LLC,

                       Plaintiff,

      v.

DROPBOX, INC.,                                         Civil Action No.: 6:21-cv-758-ADA

                       Defendant.


                        FOURTH AMENDED SCHEDULING ORDER

                                    Event                                           Schedule
Opening expert reports                                                           August 5, 2022
Rebuttal expert reports                                                        September 9, 2022
Close of expert discovery                                                      September 23, 2022
Motion Offense narrows to 15 claims                                            September 30, 2022
Dropbox narrows to 20 combinations and 15 prior art references. Prior           October 10, 2022
art relied upon by an expert only as evidence of the knowledge of a
person of ordinary skill in the art does not count as a prior art reference.
Multiple pieces of prior art evidence (for example, documents, source
code, webpages, videos or any other forms of evidence) used as
evidence relating to one prior art system counts as a single prior art
reference. Motion Offense is not precluded from challenging the prior
art status of any such evidence and/or seeking to exclude its use.
Dispositive motion deadline/Daubert deadline                                    October 17, 2022
Pretrial disclosures                                                            October 20, 2022


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                                   Event                                        Schedule
 Objections to pretrial disclosures / rebuttal disclosures                   October 31, 2022

 Objections to rebuttal disclosures and MILs                                November 11, 2022

 Joint pretrial order & pretrial submissions                                November 18, 2022
 Notice of request for daily transcript                                     December 13, 2022
 Parties to jointly email the Court’s law clerk (See OGP at 1) to confirm   November 18, 2022
 their pretrial conference and trial dates.
 Joint notice re remaining objections to disclosures/MIL disputes           December 14, 2022

 Final pretrial conference                                                  December 19, 2022

 Jury selection                                                              January 17, 2023




SIGNED this 26th day of July, 2022


                                                       ___________________________________
                                                       ALAN D ALBRIGHT
                                                       UNITED STATES DISTRICT JUDGE




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